                Case 1:18-cv-09936-LGS Document 291 Filed 07/25/20 Page 1 of 1
                                          RAJ K. PATEL
                1239 Spring Lake Drive, Brownsburg, IN 46112 | (m) 317-450-6651 | rajp2010@gmail.com


July 25, 2020

Hon. Robert A. Katzmann, C.J.
Catherine O. Wolfe, Clerk of Ct.
40 Foley Square
New York, NY 10007
No. 20-1706 (2d Cir. ____)

Hon. Jane E. Magnus-Stinson, C.J.
_____________, Clerk of Ct.
46 E. Ohio St.
Indianapolis, IN 46204
No. 1:20-cv-01772-TWP-MPB (S.D. Ind. ____)

Hon. Colleen McMahon, C.J.
Ruby J. Krajick, Clerk of Ct.
500 Pearl St.
New York, NY 10007
No. 1:18-cv-09936-LGS (S.D.N.Y. ____)

RE: Request for PACER Exemption


Hello Your Honors and/or Clerks of Courts:

        I am writing to you to request free access to PACER for the pending matters within your
jurisdiction because I am $6,000 in debt and received employment recently after being largely
unemployed for almost two-three years. On July 17, 2020, the PACER Service Center told me, via e-
mail, that “[i]f [I] wish to request a PACER exemption, write to the Chief Judge or Clerk of Court for
the jurisdiction for which you wish to obtain free PACER access.” Therefore, please accept this written
request for free PACER access for the respective case numbers listed, below your address line, above.


Respectfully moved,




/s/ Raj Patel




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